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UNITED STATES DISTRICT COURT SOUTHERN DISTRICT OF TEXAS

 

Giullian Steele, et al.,
Plaintiffs,
Civil Action H»0912789

’U€YSUS

Perry’s Restaurant, LLC, et al.,

WWL??W)(J)W)IJ)[J)L€)

Defendants.

Conditional Class Certification

Conditionally, the court establishes a class of tipped Workers at a Petry’s Restaurant

operated by Leasing Enterprises, Ltd., between]anuary 12, 2007, and today. (36,54)

Signed on October 15, 2010, at Houston, Texas.

§&'j&{\~q/’\

Lynn N. Hughes`
United States District]udge

 

